   

Case 1:20-cv-07301-AT Document18 Filed 11/09 22 sheng 1

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November 6, 2020
VIA ECF

Hon. Analisa Torres, U.S.D.J.
United States District Court
Southern District of New York
500 Pearl Street

New York, New York 10007

Re: Bernard Lewis v. Selip & Stylianou, LLP
Case 1:20-cv-07301-AT

Request to Adjourn Initial Conference

Dear Judge Torres:
As this court is aware, the undersigned is counsel for Plaintiff in the above referenced action.

| write to request an adjournment of the Initial Status Conference scheduled for November 12, 2020 at
11:00am. No previous requests for an adjournment of this conference have been requested or granted.

| make this adjournment request because | have school-aged children. Due to the restrictions caused by
the COVID-19 pandemic and underlying health conditions, my children are enrolled in remote learning.
The restrictions and requirements in their remote learning schedule are such that | must directly supervise
their schooling all day on Tuesdays and Thursdays. This environment is not conducive to a telephonic
conference with the court.

| am working and available on Mondays, Wednesdays and Fridays.

Counsel for the Defendant consents to the adjournment request. Counsel are available from 9:00am to
5:00pm on 11/16/2020 and from 12:00pm noon to 4:00pm 11/20/2020.

Defendant’s counsel and | are not available on 11/13/2020 or 11/27/2020, but are available on Mondays,
Wednesdays and Fridays thereafter.

Kind regards for the court’s courtesy in this matter

GRANTED. The conference scheduled for November 12,
2020, is ADJOURNED to November 16, 2020, at 10:20 a.m.
The parties are directed to call either (888) 398-2342 or (215)
861-0674, and enter access code 5598827.

SO ORDERED. O-

Dated: November 9, 2020 ANALISA TORRES
New York, New York United States District Judge

 
